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                              RONALD SULLIVAN LAW, PLLC
                                             Ronald S. Sullivan Jr.

                                                             December 10, 2024

        BY ECF

        The Honorable Eric R. Komitee
        United States District Judge
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 112011

                               Re: U.S. v. Carlos Watson and Ozy Media, Inc.

        Dear Judge Komitee:

                I respectfully write on behalf of Carlos Watson and OZY Media, Inc., and with Ms.
        Frison’s consent, for an adjournment of sentencing. Each of three reasons, considered alone and
        in the aggregate, favor a rescheduling.
               First, the Probation Department yesterday filed its addenda to the presentence reports.
        Fed. R. Cr. Pro. 32(g) provides as follows:
                 At least 7 days before sentencing, the probation officer must submit to the court and to
                 the parties the presentence report and an addendum containing any unresolved objections,
                 the grounds for those objections, and the probation officer's comments on them.
        (emphasis added). In violation of Rule 32(g), the addendum was filed just four days in advance
        of sentencing. The statute’s use of the word “must” means that it requires notice of at least seven
        days in all cases without analysis of the facts and circumstances of any particular case; it
        establishes a bright line that affords every defendant at least seven days between the filing of an
        addendum and sentencing (unless, of course, unlike here, the defendant is willing to forego the
        seven days.).
                Apart from the statutory command, the Defendants would be prejudiced if sentencing
        proceeds before they can effectively represent their clients. Counsel have been working most
        recently on yesterday’s letter opposing forfeiture and will be digging into the addenda starting
        today; as of this writing, counsel have not had any opportunity to read the addenda or confer
        among themselves or with their clients. Meanwhile, the issues in this case involve multiple
        alleged victims relating to loss and forfeiture among other disputed issues. According to Rule
        32(g), the Defendants have an absolute right to at least seven days to marshal and present their
        arguments. In addition, defense counsel have not completed their review of the government’s
        disclosures on restitution. While restitution can be resolved after sentencing, counsel would be
        ineffective if they did not review the government’s disclosures on restitution as such review
        might inform or be relevant to presentation of issues related to loss and forfeiture.


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                Second, the government late yesterday filed its sentencing memorandum. Counsel have
        not yet had time to do more than peruse the memorandum and note that it is 85 pages in length.
        Seven days may be the statutory minimum under Rule 32(g), but even a full seven days would
        render it impossible for counsel to provide effective assistance given the nature of the issues, the
        multiple materials to review and about which to confer, on top of counsels’ competing
        commitments to other clients.

                Third, we respectfully request that the Court consider rescheduling sentencing until after
        the holidays. Apart from counsels’ need to have more than seven days from yesterday to review
        the materials and work through the issues, one or more counsel have other commitments on each
        of December 16, 17, and 18, and Ms. Frison is away for the holidays from December 19, 2024,
        to January 3, 2025. We respectfully request that the Court reschedule sentencing for the week of
        January 6, 2025.

               Upon consult, the government requested that we include its position on this application,
        and we accommodate the government’s request as a courtesy:

               The government opposes the motion for an adjournment of sentencing. As to the
               purported Rule 32(g) violation, the government believes that any error is waived because
               the three-day delay in the addendum was caused in part by the defendants’ three-day
               delay in filing their objections to the PSRs, which were due on November 19, 2024
               (see Fed. R. Crim. P. 32(f)(1)), but were not filed until November 22, 2024 (ECF No.
               341). Even if there were a technical violation, any such violation is subject to harmless-
               error analysis. See United States v. White, 712 F. App’x 292, 293 (4th Cir. 2018); United
               States v. Arthur, 432 F. App’x 414, 431 (5th Cir. 2011); United States v. Willis, 649 F.3d
               1248, 1258 & n.5 (11th Cir. 2011); United States v. Roberge, 565 F.3d 1005, 1011 (6th
               Cir. 2009). Any violation here would clearly be harmless as the addendum rejected all of
               the defendants’ objections, and there is no basis to think that a three-day adjournment
               would alter anything about sentencing. Moreover, the only substantive changes to the
               PSR in the addendum are (1) increases in the fine ranges (although no one is seeking a
               fine), (2) an increase in the statutory maximum for Count Two from 20 years to 30 years
               (although neither the government nor Probation is seeking a sentence above 20 years on
               Count Two), and (3) an increase in the restitution amount; as to restitution, the
               government understands that the defendants will in any event be seeking to address
               restitution post-sentencing.

               As to the remaining issues, the government submits that they are meritless.

               The cases from other Circuits cited by the government, if anything, support our
        application. The Sixth Circuit in United States v. Roberge, 565 F.3d 1005 (6th Cir. 2009),
        explained that the mandate of Rule 32(g) is not subject to a district judge’s discretion:


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                [R]ecogniz[ing] the significant role that Rule 32’s requirements play in ensuring a just
               adjudication at the sentencing hearing, United States v. Mitchell, 243 F.3d 953, 955 (6th
               Cir. 2001), we have made it clear on several occasions that the district courts must be in
               ‘literal compliance’ with the requirements of Rule 32," United States v. Carter, 374 F.3d
               399, 408 (6th Cir. 2004), vacated on other grounds, 543 U.S. 1111, 125 S. Ct. 1056, 160
               L. Ed. 2d 1045 (2005). Contrary to the government's assertion, such matters of timing
               are not within the district court's discretion.
        Id. at 1011 (emphasis added) (citations and quotation marks omitted).
                The government’s reliance on its out-of-circuit cases is otherwise misplaced. The Sixth
        Circuit in Roberge found the violation of Rule 32(g) to be harmless because “[a]t the time
        Roberge requested a continuance, he had already filed nine objections to the PSR.” Id. The
        Eleventh Circuit in United States v. Willis, 649 F.3d 1248, 1257 (11th Cir. 2011), found the error
        to be harmless because the purpose of the hearing was “limited to resentencing Willis absent the
        career offender enhancement, and that Willis raised no objections to that portion of the PSR.”
        The Fifth Circuit in United States v. Arthur, 432 F. App'x 414, 431 (5th Cir. 2011), found the
        error harmless because the defendant “filed further objections to the PSR three days before
        sentencing, to which the probation officer also responded, albeit not seven days prior to
        sentencing. [The defendant] points to no authority for the proposition that a defendant can
        restart Rule 32(g)'s seven-day requirement by filing further objections to the PSR, and we find
        none.” And the Fourth Circuit in United States v. White, 712 F. App'x 292, 293 (4th Cir. 2018),
        found the error to be harmless for reasons unexplained.
                 It is improper for the government to cite a district judge to opinions in which an error was
        found harmless on appeal (on inapposite facts), all but expressly baiting error that the
        government believes it can later explain away. Rule 32(g) does not permit such mischief, as
        Roberge explains. It is likewise improper for the government to claim (without authority) that
        the Defendants implicitly waived Rule 32(g) weeks earlier because they needed a few extra days
        to marshal their objections to the PSRs (see Docket No. 337); to suggest that its view of the time
        necessary for counsel to provide effective assistance should control; or to force defendants to
        sentencing within days after filing an 85-page memorandum on top of its disclosures about
        restitution, the late addenda to the presentence report - - all on top of counsels’ competing
        commitments to other clients.




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                For these reasons, and so that counsel can provide effective assistance of counsel, we
        respectfully request that sentencing be rescheduled for the week of January 6, 2025.


                                                             Sincerely,




                                                             Ronald S. Sullivan Jr.




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